Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 1 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 2 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 3 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 4 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 5 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 6 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 7 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 8 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document    Page 9 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 10 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 11 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 12 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 13 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 14 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 15 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 16 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 17 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 18 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 19 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 20 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 21 of 22
Case 1:19-ap-01157-MB   Doc 1 Filed 12/31/19 Entered 12/31/19 13:05:15   Desc
                        Main Document   Page 22 of 22
